                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 3:13-00153
                                                   )      Judge Trauger
[1] DORIAN AYACHE and                              )
[2] THERESA C. VINCENT                             )

                                         ORDER

      A status conference was held in this case on July 21, 2014. The following are hereby

ORDERED:

      1.     Defendant Ayache’s request for a bill of particulars is
             GRANTED. The government shall furnish the requested bill of
             particulars to defendant Ayache by July 24, 2014.

      2.     The government shall respond to defendant Ayache’s Motion to
             Dismiss Count 2 or 3 (Docket No. 116) by July 28, 2014.

      3.     Defendant Ayache shall file a statement with the court by July 28,
             2014, stating his readiness for the trial presently scheduled for
             August 19, 2014.

      4.     Consideration of the Government’s Notice of Facts Regarding
             Defendant Dorian Ayache’s Financial Situation (Docket No. 114)
             is hereby DEFERRED until after the trial of this case. The
             defendant need not respond to the allegations in that filing until
             ordered to do so by the court.

      5.     The deadlines set in the Order Resetting Jury Trial (Docket No. 64) are
             hereby MODIFIED as follows:

             a.      Motions in limine shall be filed by August 1, 2014,
                     with responses due August 11, 2014.

             b.      By August 13, 2014, the parties shall file an agreed
                     set of jury instructions and an agreed verdict form,
                     plus alternate versions of instructions and verdict
                     forms about which there is no agreement.




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            c.     A pretrial conference will be held on August 15, 2014 at 1:00 p.m.

     It is so ORDERED.

     ENTER this 21st day of July 2014.


                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




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